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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


JAMES SMILEY, on behalf of himself and                                             PLAINTIFF
and all others similarly situated,


v.                                  No. 4:17-cv-612-JLH


DELI PARTNERS, LLC, a franchisee dlbla "Jason's Deli";
HARVEY NORTH LITTLE ROCK, L.L.C., managing entity;
BOURKE C. HARVEY, an individual; and DELI PARTNERS
OF NORTH LITTLE ROCK, LP,                                                     DEFENDANTS


                                             ORDER

       The above-styled case is before the Court on the parties' Joint Motion For

Approval of Stipulated FLSA Collective Action Settlement (the "Motion").

       A district court may only approve a settlement agreement and enter a stipulated

judgment that includes a waiver of FLSA claims after it determines that the litigation in-

valves a bona fide dispute and that the proposed settlement is fair and equitable to all

parties. Okada v. Eagle's HVAC, LLC, No. 2:16-CV-02245, 2017 U.S. Dist. LEXIS

205376, at*3 {yV.D. Ark. Dec. 14, 2017), citing Lynn's Food Stores, Inc. v. United

States, 679 F.2d 1350, 1353 n.8 (11th Cir. 1982). The settlement and release is en-

forceable "only if the district court enter[s] a 'stipulated judgment' approving it." Nall v.

Mal-Motels, Inc., 723 F.3d 1304, 1308 (11th Cir. 2013).

       The Court has reviewed both (i) the executed Settlement Agreement, and

(ii) the proposed Notice and Consent packet (the "Notice"). For the reasons

set forth in the Motion, the Court finds that the parties' settlement represents

a fair and reasonable resolution of their dispute and that the proposed Notice
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should be issued to all eligible potential settlement opt-in plaintiffs as specified

in the Motion and Settlement Agreement.

      Accordingly, the Motion is GRANTED and the parties' Settlement Agree-

ment and Notice are APPROVED and their terms are incorporated herein by refer-

ence as the stipulated JUDGMENT in this case.

      This Court shall retain jurisdiction over this matter until the terms set

forth in the Settlement Agreement have been complied with in full.

      The Clerk is DIRECTED to enter JUDGEMENT and close the case.

      IT IS SO ORDERED this          11-"'day of April           , 2018.


                                           J.J;N6S /Irk
                                           UNITED STATES DISTRICT JUDGE




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